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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK

   O.E.M. GLASS NETWORK, INC. and
   BROOKLYN WHOLESALE GLASS INC.,

          Plaintiffs,

                  v.
                                                                No. 1:19-cv-00742 (NGG)(LB)
   MYGRANT GLASS COMPANY, INC.,
   INTERSTATE GLASS OF AMITYVILLE
   NY, LLC., METRO GLASS DISTRIBUTING, INC.,
   XINYI AUTO GLASS NORTH AMERICA CORP.,
   VITRO, S.A.B. de C.V., VITRO AUTOMOTIVE
   GLASS LLC, FUYAO GLASS AMERICA INC.,
   AUTO TEMP INC., and SIKA CORPORATION

          Defendants.

                            MOTION TO WITHDRAW APPEARANCE


         Plaintiffs O.E.M. Glass Network, Inc. and Brooklyn Wholesale Glass Inc., by and

  through undersigned counsel, hereby submit this Motion to Withdraw Appearance of Leah Judge

  of Constantine Cannon LLP. As of January 16, 2022, Ms. Judge will no longer be with

  Constantine Cannon LLP. Plaintiffs will continue to be represented by James Joseph Kovacs,

  Daniel James Vitelli, and David Alan Scupp of Constantine Cannon LLP.



  Dated: January 12, 2023
                                             Respectfully submitted,

                                             CONSTANTINE CANNON LLP

                                             /s/ Leah Judge
                                             Leah Judge
                                             CONSTANTINE CANNON LLP
                                             150 California Street, Suite 1600
                                             San Francisco, CA 94111
                                             Tel: (415) 639-4001

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 12, 2023, I electronically filed the foregoing MOTION

  TO WITHDRAW APPEARANCE with the Clerk of the Court using the CM/ECF system.

  Notice of this filing will be sent by electronic mail and/or served by U.S. Mail to all non CM/ECF

  parties and counsel of record. Parties may access this filing through the Court's system.



                                                              By: /s/ Leah Judge




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